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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 NICKOYA HOYTE, et al.,

 Plaintiffs,

                                                        Civil Action No.: 13-569 (CRC)
     v.

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA,

 Defendant.

                                               NOTICE

               Supplemental authorities in support of plaintiffs’ summary judgment papers.

ISSUE 1.

The District contends that Lt. Gray’s declaration established the District’s position that the

Property Clerk was prevented from releasing any property held “for evidence” without a PD 81-C

from a U.S. Attorney. District’s Opposition/ Cross motion for summary judgment [192], p. 8. In

the District’s Reply [218], pgs 7-8, the District also cites to DCMR § 6-A807.3 as support. This

citation in the last paper filed in the summary judgment motions briefing cycle was the first time

counsel for the District had identified DCMR § 6-A807.3 as support for Lt. Gray’s declaration.

          DCMR § 6-A807.3 provides:

          Before returning the property to its rightful owner pursuant to its rightful owner
          pursuant to § 807.2, the Property Clerk shall obtain the certification of the United
          States Attorney for the District of Columbia or the D.C. Corporation Counsel that
          the property is not needed as evidence in the prosecution of a crime. (emphasis
          added).

          As Plaintiffs have explained in their summary judgment papers, DCMR § 6-A807.3 is an

implementing regulated promulgated by the Mayor pursuant to two District of Columbia statutes




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enacted by the D.C. Council, D.C. Code § 2-501(giving Mayor authority to issue regulations

generally); D.C. Code § 48-905.02(d)(3)(H)(giving Mayor authority to issue regulations to

implement the civil forfeiture statute).


        The District cannot both create this obligation on the Property Clerk and at the same time

contend that it absolves the District of liability because it was the cause of delay in returning

Plaintiffs’ and other class members’ vehicles when the forfeiture holds were released.


        As Justice Cardozo wrote, it is fundamental that "[h]e who prevents a thing from being done

may not avail himself of the nonperformance which he has himself occasioned.[]" R.H. Stearns Co.

v. United States, 291 U.S. 54, 61, 54 (1934); Stockstrom v. Commissioner, 190 F.2d 283, 288

(1951)(adopting principle in tax context) subsequently Supreme Court disapproved the application

of the legal principle to an error of law but it did not disapprove the legal principle, Auto. Club of

Mich. v. Commissioner, 353 U.S. 180, 183 (1957); Costantino v. City of Atl. City, 152 F. Supp. 3d

311, 328 (D.N.J. 2015)(Court rejects Atlantic City's argument that it does not have to produce

relevant discovery because it is burdened by the fact that it has too many citizen police complaints

and § 1983 lawsuits); Weller v. Am. Home Assurance Co., 2007 U.S. Dist. LEXIS 27284, at *14

(N.D.W. Va. Apr. 10, 2007)(allowing Defendant to argue undue burden since it chooses to hire

other companies to handle its claims adjusting rather than employ its own claims adjusters would

simply encourage Defendant to adopt other practices in order to avoid discovery).




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ISSUE 2


         In its final Reply for the first time the District contends that the District had not instituted

civil forfeiture proceedings against the vehicles belonging to Plaintiffs’ Hoyte and May. Reply [218],

p. 11.


         The District of Columbia Court of Appeals held that the Mayor shall "institute[] promptly"

proceedings "for disposition [of the property] in accordance with law," [citing then Sections 33-552

(c) & (d)(2)(C) relating to property taken or detained under this section], and those proceedings

begin once "a proper showing of probable cause for the seizure [has been] made. District of

Columbia v. Dunmore, 749 A.2d 740, 743 (D.C. 2000).


Respectfully submitted,

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themselves and the putative class members

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